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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF SOUTH CAROLINA
                                  BEAUFORT DIVISION

 UNITED STATES OF AMERICA                        )
                                                 )   CRIMINAL. NO. 9:22-658
                                                 )
                 vs.                             )
                                                 )
                                                 )
 RUSSELL LUCIUS LAFFITTE                         )
                                                 )


                       GOVERNMENT’S RESPONSE TO MOTION FOR
                           EXTENSION OF REPORTING DATE

         COMES NOW the United States of America, by and through its undersigned counsel, and

responds to the Defendant Russell Lucius Laffitte’s second motion for an extension of his reporting

date.

         On August 8, 2023, the Defendant filed a notice of his intention to appeal. See ECF No.

319. On August 14, 2023, Mr. Laffitte filed a Motion for Release Pending Appeal with the Fourth

Circuit Court of Appeals. See Docket # 23-4509. On August 25, 2023, the government filed its

Response in Opposition and, on August 29, 2023, the Defendant filed his Reply to the

government’s Response.

         On August 18, 2023, the Defendant was notified that he must report to a Bureau of Prisons

facility by September 14, 2023 at 12 p.m. On August 21, 2023, the Defendant filed his first motion

for an extension of his reporting deadline, a motion to which the government consented. See ECF

No. 324. This Court granted the motion and extended the Defendant’s reporting deadline until

September 21, 2023. ECF No. 325. The same day, the government notified the Fourth Circuit that

the Defendant’s reporting date had been extended to September 21, 2023. Docket # 23-4509, ECF

No. 19 at 2.
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       On September 15, 2023, the Defendant filed a second motion for extension of his reporting

date. At the time, the government found the Defendant’s request premature—the Fourth Circuit is

aware of the Defendant’s reporting date, and the government anticipates that the Fourth Circuit

will rule on the Defendant’s pending motion in advance of that date. Therefore, the government

deferred to the Court in ruling on the Defendant’s motion.

       As of this filing, the Fourth Circuit has not yet issued an Order on the Motion for Release

Pending Appeal. Although the government feels confident in the strength of its legal arguments in

support of this Court’s denial of the Defendant’s request for release pending appeal, the

government recognizes that the Court may find that the Defendant has demonstrated good cause

to warrant a further delay in his reporting date until the Fourth Circuit issues its opinion. As such,

the government does not object to the Defendant’s request but defers to the Court.




                                               ADAIR F. BOROUGHS
                                               UNITED STATES ATTORNEY

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